     Case 1:20-ap-01003-MB        Doc 5 Filed 01/16/20 Entered 01/16/20 16:46:09                Desc
                                  Main Document     Page 1 of 5


1                               PROOF OF SERVICE OF DOCUMENT
       I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
2      address is: 10866 Washington Blvd. #108, Culver City, CA 90232.
3      True and correct copies of the documents entitled:
           x SUMMONS AND NOTICE OF STATUS CONFERENCE IN ADVERSARY
4              PROCEEDING;
5          x COMPLAINT;
           x STATUS CONFERENCE PROCEDURES FOR THE HON. MARTIN R. BARASH;
6              and
           x LOCAL BANKRUPTCY RULES FORM F 7016-1.STATUS.REPORT
7      will be served or were served (a) on the judge in chambers in the form and manner required by LBR
8      5005-2(d); and (b) in the manner stated below:

9      1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):
       Pursuant to controlling General Orders and LBR, the foregoing document will be served by the court
10     via NEF and hyperlink to the document. On January 16, 2020, I checked the CMC/ECF docket for
       this bankruptcy case or adversary proceeding and determined that the following persons are on the
11     Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

12                                                      Service information continued on attached page

13     2. SERVED BY UNITED STATES MAIL:
       On January 16, 2020, I served the following persons and/or entities at the last known addresses in
14     this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
       envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the
15     judge here constitutes a declaration that mailing to the judge will be completed no later than 24
       hours after the document is filed.
16
                                                        Service information continued on attached page
17
       3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE
18     TRANSMISSION OR EMAIL (state method for each person or entity served): Pursuant to
       F.R.Civ.P. 5 and/or controlling LBR, on January 16, 2020, I served the following persons and/or
19     entities by personal delivery, overnight mail service, or (for those who consented in writing to such
       service method), by facsimile transmission and/or email as follows. Listing the judge here
20     constitutes a declaration that personal delivery on, or overnight mail to, the judge will be completed
       no later than 24 hours after the document is filed.
21
       Via Personal Delivery
22     Honorable Martin R. Barash
       U.S. Bankruptcy Court - Central District of California
23     21041 Burbank Boulevard, Suite 342/Courtroom 303
       Woodland Hills, CA 91367
24

25
       I declare under penalty of perjury under the laws of the United States that the foregoing is true and
26     correct.
       January 16, 2020           Michael Mosher                               /s/ Michael Mosher
27            Date                 Printed Name                                       Signature

28
                                                          1
     Case 1:20-ap-01003-MB     Doc 5 Filed 01/16/20 Entered 01/16/20 16:46:09       Desc
                               Main Document     Page 2 of 5


1                        U.S. Bankruptcy Court – Central District of California
                                        Gottlieb v. Campbell
2                                 Lead Case No. 1:18-bk-10098-MB
3                                 Adv. Proc. No. 1:20-ap-01003-MB

4      1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

5      Bradley E. Brook on behalf of Plaintiff David K. Gottlieb
       bbrook@bbrooklaw.com, paulo@bbrooklaw.com, brookecfmail@gmail.com
6
       David Keith Gottlieb (TR)
7      dkgtrustee@dkgallc.com, dgottlieb@iq7technology.com, rjohnson@dkgallc.com,
       akuras@dkgallc.com
8
       United States Trustee (SV)
9      ustpregion16.wh.ecf@usdoj.gov

10
       2. SERVED BY UNITED STATES MAIL:
11
       Defendant Robert Campbell
12     Robert W. Campbell
       1232 2nd Street
13     Manhattan Beach, CA 90266

14

15

16
17

18

19

20

21

22

23

24

25

26
27

28
                                                    2
          Case1:20-ap-01003-MB
         Case  1:20-ap-01003-MB Doc
                                 Doc4-1
                                     5 Filed
                                        Filed01/16/20
                                              01/16/20 Entered
                                                         Entered01/16/20
                                                                  01/16/2016:46:09
                                                                           09:38:08 Desc
                                                                                     Desc
                                 Main Document Page
                                  AP-Summons       Page1 3ofof3 5


Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &        FOR COURT USE ONLY
Email Address

Bradley E Brook
Law Offices of Bradley E Brook, APC
10866 Washington Blvd., #108
Culver City, CA 90232
310−839−2004




Plaintiff or Attorney for Plaintiff

                                   UNITED STATES BANKRUPTCY COURT
                         CENTRAL DISTRICT OF CALIFORNIA − SAN FERNANDO VALLEY
In re:

                                                                              CASE NO.:    1:18−bk−10098−MB

Penthouse Global Media, Inc.                                                  CHAPTER:     7


                                                                              ADVERSARY NUMBER:         1:20−ap−01003−MB
                                                               Debtor(s).

DAVID K GOTTLIEB


                                                               Plaintiff(s)
                               Versus
                                                                                  SUMMONS AND NOTICE OF STATUS
                                                                                    CONFERENCE IN ADVERSARY
Robert Campbell                                                                      PROCEEDING [LBR 7004−1]

                                                           Defendant(s)



TO THE DEFENDANT(S): A Complaint has been filed by the Plaintiff against you. If you wish to defend against the Complaint,
you must file with the court a written pleading in response to the Complaint. You must also serve a copy of your written
response on the party shown in the upper left−hand corner of this page. The deadline to file and serve a written response is
02/18/2020. If you do not timely file and serve the response, the court may enter a judgment by default against you for the relief
demanded in the Complaint.

 A status conference in the adversary proceeding commenced by the Complaint has been set for:
             Date:                March 19, 2020
             Time:                01:30 PM
             Hearing Judge:       Martin R. Barash
             Location:            21041 Burbank Blvd, Crtrm 303, Woodland Hills, CA 91367



            This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2016                                                  Page 1                        F 7004−1.SUMMONS.ADV.PROC
       Case1:20-ap-01003-MB
      Case  1:20-ap-01003-MB Doc
                              Doc4-1
                                  5 Filed
                                     Filed01/16/20
                                           01/16/20 Entered
                                                      Entered01/16/20
                                                               01/16/2016:46:09
                                                                        09:38:08 Desc
                                                                                  Desc
                              Main Document Page
                               AP-Summons       Page2 4ofof3 5


You must comply with LBR 7016−1, which requires you to file a joint status report and to appear at a status
conference. All parties must read and comply with the rule, even if you are representing yourself. You must cooperate with the
other parties in the case and file a joint status report with the court and serve it on the appropriate parties at least 14 days before
a status conference. A court−approved joint status report form is available on the court's website (LBR form F
7016−1.STATUS.REPORT) with an attachment for additional parties if necessary (LBR form F
7016−1.STATUS.REPORT.ATTACH). If the other parties do not cooperate in filing a joint status report, you still must file with
the court a unilateral status report and the accompanying required declaration instead of a joint status report 7 days before the
status conference. The court may fine you or impose other sanctions if you do not file a status report. The court may
also fine you or impose other sanctions if you fail to appear at a status conference.




                                                                                        KATHLEEN J. CAMPBELL
                                                                                        CLERK OF COURT




Date of Issuance of Summons and Notice of Status Conference in Adversary Proceeding: January 16, 2020




                                                                                        By:        "s/" Patty Garcia
                                                                                                   Deputy Clerk




           This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2016                                                Page 2                        F 7004−1.SUMMONS.ADV.PROC
         Case1:20-ap-01003-MB
        Case  1:20-ap-01003-MB Doc
                                Doc4-1
                                    5 Filed
                                       Filed01/16/20
                                             01/16/20 Entered
                                                        Entered01/16/20
                                                                 01/16/2016:46:09
                                                                          09:38:08 Desc
                                                                                    Desc
                                Main Document Page
                                 AP-Summons       Page3 5ofof3 5



                                              PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:




A true and correct copy of the foregoing document entitled: SUMMONS AND NOTICE OF STATUS CONFERENCE IN ADVERSARY
PROCEEDING [LBR 7004−1] and (2) the accompanying pleading(s) entitled:
__________________________________________________________________________________________________________
__________________________________________________________________________________________________________
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005−2(d); and (b) in the manner
stated below:

   1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
   Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
   (date) _____________________, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and
   determined that the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email
   addresses stated below:




                                                                               Service information continued on attached page
   2. SERVED BY UNITED STATES MAIL: On (date) _____________________, I served the following persons and/or
   entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct
   copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows.
   Listing the judge here constitutes a declaration that mailing to the judge will be completed no later than 24 hours after
   the document is filed.




                                                                               Service information continued on attached page
   3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state
   method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)
   _____________________, I served the following persons and/or entities by personal delivery, overnight mail service,
   or (for those who consented in writing to such service method), by facsimile transmission and/or email as follows.
   Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be
   completed no later than 24 hours after the document is filed.




                                                                               Service information continued on attached page
   I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

   _____________________________________________________________                                    _________________________________
   Date                   Printed Name                                                                 Signature

                This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2016                                                                                  F 7004−1.SUMMONS.ADV.PROC
